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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
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